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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION



TERRY KING                                                                      PLAINTIFF

V.                                                CIVIL ACTION NO. 3:21CV44-MPM-JMV

CIGNA HEALTH AND LIFE
INSURANCE COMPANY                                                             DEFENDANT


                                            ORDER

       Before the Court is Defendant’s unopposed motion [8] for an extension of time until

fifteen days after service of an amended complaint to file an answer in this matter. The Court

finds the motion should be granted in part and denied in part. Accordingly, the time for

Defendant to file its answer is extended to June 23, 2021.

       SO ORDERED this 25th day of May, 2021.


                                                     /s/ Jane M. Virden
                                                     U.S. Magistrate Judge
